                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                *
JENNELL BLACK, ET AL.,
                                                *
       PLAINTIFFS,
                                                *
       v.                                              Case No.: 1:20 -cv-03644-CCB
                                                *
THOMAS WEBSTER IV, ET AL.,
                                                *
        DEFENDANTS.
                         **      *    *    *   *    *
                        EXHIBIT LIST TO DEFENDANTS
             THOMAS WEBSTER IV, GARY MANOS, AND DENNIS LANNON’S
                      MOTION FOR SUMMARY JUDGMENT

Exhibit 1:     Audio Recording – 911 Call

Exhibit 2:     Transcript of Audio Recording – 911 Call

Exhibit 3:     Audio Recording – Police Dispatch

Exhibit 4:     Transcript of Audio Recording – Police Dispatch

Exhibit 5:     Body Worn Camera Footage – Thomas Webster IV’s Body Worn Camera

Exhibit 6:     Affidavit of Thomas Webster IV

Exhibit 7:     Affidavit of Dennis Lannon

Exhibit 8:     Affidavit of Gary Manos

Exhibit 9      Affidavit of Shawn Starkey

Exhibit 10:    Autopsy Report

Exhibit 11:    Letter from States Attorney for Caroline County, Joseph Riley, to Trooper Kyle
               Clark Declining to Press Charges against any of the individuals in the matter
               involving the In-Custody Death of Anton Black, Dated March 7, 2019

Exhibit 13:    Affidavit of Eric Lee
